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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                        No. 15 CR 287-LTS

SEAN STEWART,

                 Defendant.

-------------------------------------------------------x

                                                           ORDER

                 Following his conviction for conspiracy to commit securities fraud and tender

offer fraud, Defendant Sean Stewart was sentenced principally to 36 months of imprisonment

and judgment was entered on February 24, 2017. (Judgment, Docket Entry No. 237.) Defendant

filed a notice of appeal on February 22, 2017. (Docket Entry No. 238.) On June 26, 2018, the

United States Court of Appeals for the Second Circuit ordered that the district court release

Defendant pending the resolution of his appeal pursuant to 18 U.S.C. § 3143(b), subject to the

same conditions upon which he had been released prior to his post-sentencing voluntary

surrender and authorized the district court to entertain any subsequent motions for modification

of the conditions of release. (Docket Entry No. 267.)

                 Accordingly, Defendant is hereby ordered to be released immediately, pending

the disposition of the appeal or further order of the Second Circuit, subject to the following

conditions, which were in effect before his surrender to the Bureau of Prisons on June 6, 2017:

                 1. A $1,000,000 Personal Recognizance Bond, secured by $250,000 worth of

                      cash, property, or security, to be signed by Defendant and one financially

                      responsible person. This condition must be met by July 6, 2018.

                 2. Defendant’s travel is restricted to the Continental United States.
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               3. Defendant must surrender his passport and make no new applications.

               4. Defendant is subject to pretrial supervision.

               5. Defendant is subject to curfew, and may leave his residence without notifying

                  Pretrial Services between the hours of 7:00 a.m. and 9:00 p.m.

               6. Defendant must report to the Pretrial Services Office located in Room 550,

                  500 Pearl Street, New York, New York, within 48 hours of his release.

(Docket Entry Nos. 9, 94, 107; Minute Entry for Proceeding Held on January 1, 2016.) These

conditions are subject to modification up on motion directed to this Court.



       SO ORDERED.

Dated: New York, New York
       June 27, 2018

                                                            _/s/ Laura Taylor Swain__
                                                            LAURA TAYLOR SWAIN
                                                            United States District Judge
